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                                           No. 23-6334

                         UNITED STATES COURT OF APPEALS
                             FOR THE FOURTH CIRCUIT

                              RICKY VINCENT PENDLETON,

                                                                Plaintiff-Appellant,

                                                v.

              BETSY C. JIVIDEN, Commissioner WV Division of Corrections and
               Rehabilitation; CLARENCE J. RIDER, Religious Service Director,
               WV Division of Corrections and Rehabilitation; DONNIE AMES,
                           Mount Olive Correctional Complex and Jail,

                                                            Defendants-Appellees.

               On Appeal From The United States District Court for the Southern
                     District of West Virginia, Case No. 2:22-cv-00178
                                The Hon. Joseph R. Goodwin

                                  OPENING BRIEF OF APPELLANT

        Samuel David Kinder Weiss                    Ginger D. Anders
        RIGHTS BEHIND BARS                           Helen E. White
        416 Florida Ave NW                           MUNGER, TOLLES & OLSON LLP
         Suite 26152                                 601 Massachusetts Avenue NW
        Washington, DC 20001                          Suite 500 E
        (202) 455-4399                               Washington, DC 20001
        sam@rightsbehindbars.org                     (202) 220-1100
                                                     Helen.White@mto.com

                                  Counsel for Ricky Vincent Pendleton
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                               JURISDICTIONAL STATEMENT

              The district court had jurisdiction over Pendleton’s federal statutory and

        constitutional claims under 28 U.S.C. § 1331. On March 21, 2023, the district court

        granted Defendants’ motion to dismiss and denied Pendleton’s motion to sever him

        from the religious diet program. On April 4, 2023, Pendleton filed his timely notice

        of appeal. This Court has jurisdiction under 28 U.S.C. § 1291.

                                         INTRODUCTION

              Plaintiff Ricky Pendleton is a devout Muslim who adheres to a form of Sufism

        called the God Centered Culture of Islam. He has alleged that, as part of his religious

        observance, he cannot eat meat or soy products. He also alleges that he suffers from

        severe gastrointestinal distress when he consumes soy due to an allergy to all soy

        products. Despite these plausibly alleged religious and medical dietary restrictions,

        Defendants have repeatedly rebuffed his requests for a diet that is free of both meat

        and soy, and that provides adequate nutrition. They instead have offered him the

        “choice” between the “regular tray”—which primarily derives its protein from

        meat—and the “New Religious Special Diet Program” (Religious Diet Program)—

        which primarily derives its protein from soy. Because he cannot eat the primary

        source of protein in either of these diets, Pendleton alleges that he now consumes

        only a little more than half the daily calories of other prisoners and does not receive

        adequate protein. Pendleton claims Defendants’ refusal to provide him with a diet


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        that is both nutritionally adequate and religiously compliant violates his religious

        exercise rights guaranteed by both the Religious Land Use and Institutionalized

        Persons Act (RLUIPA) and the U.S. Constitution’s Free Exercise Clause.

              The district court dismissed Pendleton’s claims on the unsupportable ground

        that this coercive choice between religious observance and adequate nutrition did

        not “substantially burden” Pendleton’s religious exercise. In so doing, the district

        court departed from this Court’s precedents holding that prisons substantially burden

        the religious exercise of prisoners when they fail to provide a diet that is both

        nutritionally adequate and religiously compliant. In repeatedly reaffirming that rule,

        this Court recognized that the inability to receive adequate nutrition through prison

        meals imposes precisely what both RLUIPA and the Free Exercise Clause guard

        against: impermissible “pressure” on a religious adherent to eschew their religious

        beliefs in order to receive an indispensable government benefit.

              Because the district court disregarded this Court’s precedents and applied an

        erroneous standard that does not adequately protect the religious liberty interests of

        incarcerated people like Pendleton, this Court should reverse the district court’s

        dismissal of Pendleton’s RLUIPA and Free Exercise Claims. And, because the

        district court relied on that same flawed analysis in denying Pendleton’s motion

        seeking severance from the diet plan that did not provide him adequate nutrition, this




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        Court should vacate that order and remand to the district court for further

        consideration of that motion.

                                 STATEMENT OF THE ISSUES

              1. Whether the district court erred in holding that Pendleton had failed to state

        a claim under RLUIPA when he alleged that Defendants refused to provide him with

        a religiously compliant, nutritionally adequate diet, which the prison concedes it

        would provide to prisoners for medical, but not religious, reasons.

              2. Whether the district court erred in holding that Pendleton had failed to state

        a claim under the Free Exercise Clause when he alleged that Defendants refused to

        provide him with a religiously compliant, nutritionally adequate diet that contains

        neither meat nor soy, which the prison concedes it would provide to prisoners for

        medical, but not religious, reasons.

              3. Whether the district court erred in denying Pendleton’s motion to sever

        him from the religious special diet program on the ground that Pendleton had failed

        to state any claims in his complaint.

                                    STATEMENT OF THE CASE

              A.     Factual Background

              Unless otherwise noted, the following factual background is taken from the

        allegations Pendleton made in his pro se complaint and its attachments. Those

        attachments include a document styled as a “memorandum of law in support” of

        Pendleton’s complaint, JA065, which Pendleton incorporates in his complaint,
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        JA009, and 53 pages of exhibits such as medical records, accommodations requests,

        and an affidavit from Pendleton, JA012-064. These attachments contain additional

        allegations that are incorporated by reference in Pendleton’s complaint and must be

        taken as true at the motion to dismiss stage. 1 See Goines v. Valley Community Servs.

        Bd., 822 F.3d 159, 166 (4th Cir. 2016) (explaining that courts must “also consider

        documents that are explicitly incorporated into the complaint by reference . . . and

        those attached to the complaint as exhibits” when evaluating a motion to dismiss

        (citations omitted)); see also Fed. R. Civ. P. 10(c).

              Pendleton is a devout Muslim who practices a God Centered Culture of Islam

        and follows the traditions of Sufi Islam. JA008. While this is one of the many sects

        of Islam, it is distinct from the Sunni and Shi’ite sects that are the two most common

        sects around the world and in the United States. As Pendleton explained in a July 7,

        2014 request for religious accommodation, under the “Sufi Original Traditions”

        “[v]egetarianism promotes compassion and harmlessness to l[i]ving creatures.”

        JA040. Therefore, his diet consists of eating only “vegetables and fruits and certain

        fish,” which “aids in the purification of the mind, body and reparation of

        mental/inner self.” JA040. He may also eat dairy products. JA073.




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         For ease of reference, these three documents together shall be referred to as “the
        complaint”.
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              Pendleton also has a severe soy allergy, and he experiences vomiting,

        abdominal pain, constipation, and other digestive issues when he consumes food

        products containing soy.    JA022, JA023, JA031.       Pendleton’s medical record

        extensively documents his allergy to soy and his attempts to receive treatment for

        allergy-induced symptoms.      See, e.g., JA022 (referring to his allergy-related

        symptoms as “very drastic”), JA023 (describing “constipation and diarrhea when

        eating the preparation of soy protein/products”), JA024 (explaining that he is “still

        having constipation problems after ingesting soy protein/product along with other

        reactions, pains, nausea”). Pendleton has also long maintained that his inability to

        digest soy products makes those foods “haram”—i.e., religiously forbidden. See

        JA040.

              Pendleton is currently incarcerated at the Mount Olive Correctional Complex

        (MOCC) in West Virginia. At least as of March 2007, Pendleton has consistently

        requested a “no flesh” religious diet, specifying that he does not consume beef,

        turkey, chicken, or any other animal, but does consume fish under 50 pounds.

        JA016.

              In May 2014, the West Virginia Division of Corrections and Rehabilitation

        (WVDCR) introduced the Religious Diet Program, pursuant to Policy Directive

        § 511.00. The Diet Program provided that the WVDCR would offer only a single

        “religious special diet,” which would “never” include meat or fish and which was

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        “not intended to provide everything an inmate of any faith may eat,” but rather was

        “intended to provide a nutritionally adequate meal that meets dietary restrictions

        imposed by various beliefs.” JA044 (emphasis added). That is, the Diet Program

        was “designed to observe the dietary restrictions prohibiting certain food items or

        groups of food items,” but “[n]o attempt” would be made to “provide and serve every

        food item a particular religion may allow.” JA046. The single religious special diet

        was specifically intended to accommodate adherents of the Hare Krishna religion,

        who cannot eat meat, eggs, onions and other alliums, or mushrooms and other fungi.

        JA043. Pendleton alleges that, as a result, soy-based protein sources are served

        “95%” of the time. JA067.

              In July 2014, Mr. Pendleton sought a religious accommodation from the Diet

        Program. According to the complaint, he explained in that request that he “[C]annot

        eat raw soy; texturized soy protein; fermented soy products; and any other processed

        soy products, due to having digestive problems such as nausea; abdominal pain;

        vomiting; and constipation.      For this reason it is considered ‘Haram’”—i.e.,

        religiously forbidden. JA040. He went on to explain that his “way of life is that of

        the Sufi Original Traditions” and that “[v]egetarianism promotes compassion and

        harmlessness to l[i]ving creatures.”     JA040.       His diet consists of eating only

        “vegetables, fruits and certain fish,” which “aids in the purification of the mind, body

        and the reparation of mental/inner-self.” JA040. Because soy products make him

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        ill, they are inconsistent with a diet that “aids in the purification of the . . . body.”

        JA040. He also cited “Weston A. Price Foundation[,] The Old Original traditions

        of the Sufi Order” to explain the “religious significance of why I cannot digest any

        soy product.” JA040. Prison officials did not accommodate his request.

              On September 8, 2014, Mr. Pendleton again sought medical attention for his

        soy allergy. He alleges that at that appointment, he explained that his “constipation,

        abdominal pain and . . . serious gas” due to soy consumption continued even after

        taking medication recommended by medical staff. JA031. He again explained that

        “[f]ood service will accommodate [a] non-soy diet tray upon a diet order” and

        “request[ed] to see a doctor.” JA031. While medical staff referred him to a doctor,

        Pendleton persisted in requesting changes to his diet through at least September 30,

        2021, when he wrote that he was still having allergy-related symptoms from the soy

        in his diet, that the stool softeners he had been prescribed did not help, and that he

        continued to request a soy-free diet. JA028-034. Over the course of 2014 alone,

        Pendleton sought medical attention due to his soy-related digestive distress on 13

        occasions. See JA022-034. He never received an accommodation.

              On October 14, 2021, Pendleton submitted a grievance, stating that he was

        being “forced onto another Religion’s Religious dietary practice.” JA013. He

        explained that the vegetarian, soy-based Diet Program did not represent his sincerely

        held belief in a God Centered Culture of Islam and that he was unable to eat soy

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        texturized protein. JA013. The following day, Pendleton’s grievance was denied.

        The explanation given for the denial was as follows: “The DCR mandated religious

        diet does meet nutritional and religious requirements of all religions. You may

        choose to partake in the religious diet, or a regular diet. It is your decision.” JA014.

        Pendleton submitted another grievance in March 2022. See JA064. But just as his

        medical services requests fell on deaf ears, so too did his grievances.

              Pendleton now “refrain[s] from eating the inedible soy protein products,” “but

        . . . cannot maintain an adequate diet, because he is not giv[en] a substitute” protein

        or caloric source. JA073. Because Defendants continue to refuse to provide

        Pendleton with a religiously-compliant diet that does not include soy or meat, he

        alleges he is able to consume, at most, 1,800 calories a day through the diet provided

        by Defendants. JA079. By contrast, he alleges other incarcerated people in the same

        facility receive a diet that allows them to consume in excess of 3,200 calories each

        day. JA079.

              B.      Procedural History

              On April 11, 2022, Pendleton, proceeding pro se, filed this suit under 42

        U.S.C. § 1983 against WVDCR Commissioner Betsy Jividen, WVDCR Religious

        Services Director Clarence Rider, and MOCC Superintendent Donnie Ames. In

        addition to completing the form complaint the Southern District of West Virginia

        provides incarcerated pro se plaintiffs, JA005, Pendleton submitted a series of


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        exhibits comprised of medical records, religious accommodation request forms, and

        a lengthy affidavit from Pendleton. See JA012. And, he referred the court to a

        second document filed alongside his complaint, which he styled as a “memorandum

        in support of” his complaint, for further information regarding his allegations. See

        JA065; JA009.

              In relevant part, Pendleton alleged that WVDCR’s Diet Program violated his

        rights under the First Amendment Free Exercise Clause and RLUIPA. 2 Pendleton

        alleged that he was being “forced or coerced to choose between violating a religious

        precept” or receiving “adequate nutrition,” because consuming the soy products—

        the only protein provided in the Diet Program—caused him “vomiting, abdominal

        pains, digestive issues[, and] constipation,” as well as other “complications.”

        JA055-056. In his prayer for relief, Pendleton asked that he be “severed” from the

        Diet Program so that he would no longer be forced to consume soy products and

        instead would be permitted to follow his religiously mandated pescatarian diet.

        JA009.

              Defendants moved to dismiss. Dkt. No. 15. While conceding that Pendleton

        had exhausted his administrative remedies pursuant to the Prison Litigation Reform

        Act, Dkt. No. 16 at 5-6, they contended that Pendleton could not prove that the Diet


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           Pendleton also brought claims under the Equal Protection Clause and
        Establishment Clause. JA009. The district court granted Defendants’ motion to
        dismiss as to those claims and Pendleton does not appeal that ruling.
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        Program “substantially burdens” his exercise of religious freedom under either

        RLUIPA or the Free Exercise Clause, id. at 6. In Defendants’ only acknowledgment

        of Pendleton’s soy allergy, they wrote that Pendleton “failed to put forth evidence

        of any medically diagnosed allergy to soy” and explained that “[i]f it were to be

        medically determined that [Pendleton] had a soy allergy, he would then be provided

        with a soy alternative under the Religious Special Diet.” Id. at 11. Defendants did

        not mention or address Pendleton’s alleged religious objection to eating soy.

              While Defendants’ motion to dismiss was pending, Pendleton filed a four-

        page motion requesting that he be severed from the Diet Program and put on a

        pescatarian diet “due to medical concerns and Objection to Defendants Motion to

        Dismiss.” Dkt. No. 23 at 1. He argued that he had “proven” with medical records

        that “he is being forced to eat soy based products with indifference for his medical

        issues” and that a “jury could rationally find that [Pendleton] suffered an objectively

        serious deprivation caused by eating the soy based diet[].” Dkt. No. 23 at 2-3.

        Defendants characterized Pendleton’s motion as merely restating arguments in his

        complaint and opposition to the motion to dismiss. Dkt. No. 27.

              In a March 21, 2023 order, the district court resolved both pending motions in

        Defendants’ favor. JA082. The district court concluded that Pendleton had not

        adequately alleged that his religious exercise was being substantially burdened

        “because he is not being ‘forced’ to consume soy products or any other food he is

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        forbidden to eat,” “[n]or is he being denied food required by his religion.” JA097.

        The court further noted that Pendleton could “remain on the Religious Special Diet

        and not eat soy products or . . . switch to the regular diet and avoid eating the meat

        or other foods that he claims are forbidden by his religious beliefs.” JA098-099.

        And it suggested that “to the extent that [Pendleton] may be asserting that he does

        not receive adequate nutrition from a lack of protein or other products he may choose

        not to eat,” he could “supplement his meals with protein and other items from the

        commissary that meet his religious and dietary needs.” JA099. The district court

        held that this lack of a substantial burden doomed both Pendleton’s RLUIPA and

        Free Exercise claims. JA099-101.

              In addition, the district court characterized the motion for severance “as a

        motion for preliminary and permanent injunctive relief.” JA108. “[T]o obtain such

        relief,” the court explained, “[Pendleton] must demonstrate a likelihood of success

        on the merits of his claims and that he has or will be irreparably harmed without

        such relief.”   JA108.      The district court explained that because it had held

        Pendleton’s complaint did not state a claim, Pendleton was not entitled to either form

        of injunctive relief. JA108-109.

              On April 4, 2023, Mr. Pendleton timely appealed. JA111.




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                                    SUMMARY OF ARGUMENT

              Pendleton has alleged that he is religiously forbidden from eating meat and

        soy. And he alleges that Defendants have refused to provide him with a diet that

        does not contain either meat or soy and that provides him sufficient calories and

        protein. He further alleges—and Defendants concede—that WVDCR is willing and

        able to provide such a diet for medical reasons. These allegations plainly state a

        claim under both RLUIPA and the Free Exercise Clause. Yet the district court failed

        to follow this Court’s long-standing precedents and erroneously dismissed

        Pendleton’s complaint on the ground that Pendleton’s religious exercise had not

        been “substantially burdened”—a required element of claims under both RLUIPA

        and the Free Exercise Clause. That was reversible error.

              I.A. The district court erroneously dismissed Pendleton’s claim under

        RLUIPA, which prohibits prisons from imposing a “substantial burden” on

        prisoners’ religious exercise unless it is the “least restrictive means of furthering [a]

        compelling governmental interest,” 42 U.S.C. § 2000cc-1(a). In so doing, the district

        court disregarded this Court’s repeated holdings that prison officials substantially

        burden the religious exercise of incarcerated people when they refuse to provide

        them with a religiously compliant diet that also satisfies their nutritional needs. See,

        e.g., Carter v. Fleming, 879 F.3d 132, 140 (4th Cir. 2018). Because Pendleton

        alleged that Defendants had refused to provide him with a diet that provides him


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        adequate nutrition without meat or soy products, he has plausibly alleged that he

        faces precisely the kind of “rock and a hard place” dilemma that this Court has

        recognized as a “substantial burden” on a plaintiff’s religious exercise. Richardson

        v. Clarke, 52 F.4th 614, 624-625 (4th Cir. 2022).

              The district court ignored these precedents and fashioned a new, substantially

        higher standard out of whole cloth. First, it incorrectly characterized the substantial

        burden inquiry as requiring that a plaintiff actually be “forced” to consume

        religiously forbidden foods. Second, the district court suggested that Pendleton’s

        religious exercise was not substantially burdened because he could simply purchase

        supplemental meals from the prison’s commissary. But these two requirements are

        divorced from this Court’s “substantial burden” precedents, which focus on the

        coercive power of the prison’s policies and not whether the plaintiff actually violated

        his religious tenets or was able, even via extraordinary means, to alleviate the

        burden. In addition, because the coercive pressure of the prison’s policies remains

        significant—even if Pendleton elects malnourishment over heresy and even if the

        indigent    Pendleton   could   theoretically   purchase    supplements     from   the

        commissary—those policies still substantially burden Pendleton’s religious

        exercise.

              B. Pendleton has also carried his burden at the pleading stage as to RLUIPA’s

        other requirement—namely, that the substantial burden on his religious beliefs is not

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        the “least restrictive means of furthering [a] compelling governmental interest.” 42

        U.S.C. § 2000cc-1. Defendants did not move to dismiss on this ground and so have

        waived the argument. Nor could they prevail if this Court were inclined to overlook

        their forfeiture. To start, this Court has suggested that plaintiffs do not need to plead

        facts with respect to this portion of the analysis because the defendant bears the sole

        burden on the question. Jehovah v. Clark, 798 F.3d 169, 179 (4th Cir. 2015). And,

        in any event, Pendleton alleges—and Defendants concede—that Defendants would

        and could provide the diet he requests upon a doctor’s note, but they refuse to do so

        in order to accommodate his religious beliefs. Pendleton therefore has at least

        plausibly alleged that the burden on his religious beliefs is not the least restrictive

        means of furthering a compelling government interest. See Yellowbear v. Lampert,

        741 F.3d 48, 60 (10th Cir. 2014) (Gorsuch, J.) (explaining that a prison’s disparate

        treatment of secular and religious requests for accommodations raises the inference

        of impermissible discrimination towards or indifference to religion).

              II. The district court also erroneously dismissed Pendleton’s Free Exercise

        claim. To state a free exercise claim, Pendleton must plausibly plead a “substantial

        burden” on his religious beliefs, just as under RLUIPA. Wright v. Lassiter, 921 F.3d

        413, 418 (4th Cir. 2019). Accordingly, the district court’s Free Exercise Clause

        analysis suffers from the same legal errors as its RLUIPA analysis. And, as with

        Pendleton’s RLUIPA claim, Defendants moved to dismiss his claim based solely on

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        the substantiality of the burden and have conceded that they could and would

        accommodate his request were it made for other, non-religious reasons. Pendleton

        therefore has also adequately pleaded the remainder of his Free Exercise Clause

        claim, which requires plausibly alleging that the Defendants conduct was not

        “reasonably related to a legitimate penological interest.” Jehovah, 798 F.3d at 181.

              III. Finally, because the district court denied Pendleton’s motion to sever

        based on its erroneous holding that Pendleton had failed to state any claims for relief,

        this Court should vacate that order and remand to the district court for further

        consideration of Pendleton’s motion.

                                     STANDARD OF REVIEW

              This Court reviews “a district court’s grant of a motion to dismiss de novo.”

        Stevens v. Holler, 68 F.4th 921, 930 (4th Cir. 2023) (citation omitted). To survive a

        motion to dismiss under Federal Rule of Civil Procedure 12(b)(6), the complaint

        must include “sufficient factual matter, accepted as true, to state a claim to relief that

        is plausible on its face.” Id. (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009))

        (internal quotation marks omitted). The “plausibility standard requires only that the

        complaint’s factual allegations ‘be enough to raise a right to relief above the

        speculative level.” Id. (quoting Houck v. Substitute Trustee Serv., Inc., 791 F.3d

        473, 484 (4th Cir. 2015)) (internal quotation marks omitted). In evaluating the

        complaint, the court must accept all factual allegations as true and must “draw all


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        reasonable inferences in favor of the plaintiff.” Id. “Additionally, when a plaintiff

        raises a civil rights issue and files a complaint pro se, the court must construe

        pleading requirements liberally.” Wilcox v. Brown, 877 F.3d 161, 167 (4th Cir.

        2017).

                                             ARGUMENT

               Pendleton alleges that, due to his religious beliefs, he cannot eat meat or soy.

        And he has alleged that he is allergic to soy and suffers severe gastrointestinal

        distress when he consumes soy. Defendants have repeatedly denied his requests for

        a diet that contains neither meat nor soy, forcing plaintiff to choose between

        violating his religious beliefs, suffering gastrointestinal distress from eating soy

        products, or consuming an inadequate number of calories. This Court has repeatedly

        recognized that “[u]nder the Free Exercise Clause and RLUIPA in its most elemental

        form, a prisoner has a ‘clearly established . . . right to a diet consistent with his . . .

        religious scruples.’” Lovelace v. Lee, 472 F.3d 174, 198-99 (4th Cir. 2006) (citation

        omitted). And that religiously compliant diet must provide adequate nutrition. Yet

        the district court applied the wrong legal standard under both RLUIPA and the First

        Amendment and erroneously held that because Pendleton had not been “forced” to

        eat soy, his religious beliefs had not been substantially burdened. This Court should

        reverse that error.




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              I.     PLAINTIFF’S COMPLAINT STATES A CLAIM UNDER
                     RLUIPA

              “Congress enacted RLUIPA to preserve the right of prisoners to raise religious

        liberty claims.” Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682, 718 (2014). To

        prevail on a claim under RLUIPA, the plaintiff must show that “the challenged

        policy ‘implicates his religious exercise,’” Richardson v. Clarke, 52 F.4th 614, 622

        (4th Cir. 2022) (citation omitted), and that “the prison’s policies imposed a

        substantial burden on his exercise of sincerely held religious beliefs.” Wright v.

        Lassiter, 921 F.3d 413, 418 (4th Cir. 2019). The burden shifts to defendants “to

        show that [the] policy satisfies strict scrutiny: that is, the policies must represent the

        least restrictive means of furthering a compelling governmental interest.”

        Richardson, 52 F.4th at 622.

              At the pleading stage, a plaintiff must plausibly allege that the prison’s policy

        implicates his religious exercise and imposes a substantial burden on it, but need not

        attempt to predict the state’s compelling interest and least-restrictive-means

        arguments. Jehovah v. Clarke, 798 F.3d 169, 179 (4th Cir. 2015) (citing 42 U.S.C.

        § 2000-cc-2(b)). To survive a motion to dismiss, therefore, a plaintiff “need only

        plead facts tending to show a substantial burden on his exercise of sincerely held

        religious beliefs.” Id. Pendleton’s allegations that Defendants have refused to

        provide him with a nutritionally sufficient, religiously compliant diet easily satisfy

        that standard, and (although unnecessary at the pleading stage) Pendleton has also

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        pleaded facts raising a plausible inference that Defendants’ policy is not the least

        restrictive means of furthering any compelling interest.

              A.     Pendleton Plausibly Alleged That the Diet Program Substantially
                     Burdens His Sincerely Held Religious Beliefs.

              Pendleton has alleged a substantial burden on his religious exercise because

        he alleges that Defendants refuse to provide him a nutritionally adequate diet that

        complies with his religious beliefs. The Supreme Court has long held that a

        “substantial burden” is one that “put[s] substantial pressure on an adherent to modify

        his behavior and to violate his beliefs,” or forces a person to “choose between

        following the precepts of her religion and forfeiting [governmental] benefits, on the

        one hand, and abandoning one of the precepts of her religion . . . on the other hand,”

        Lovelace, 472 F.3d at 187 (quoting Thomas v. Review Bd. of Ind. Emp. Sec. Div.,

        450 U.S. 707, 718 (1981), and Sherbert v. Verner, 374 U.S. 398, 404 (1963))

        (alterations in original). Put simply, policies that put a plaintiff “between the

        proverbial rock and a hard place” substantially burden the plaintiff’s religious beliefs

        under RLUIPA. Richardson, 52 F.4th at 624.

              1. This Court has repeatedly held that prison policies that deny plaintiffs

        religiously compliant diets impose a substantial burden on the exercise of religious

        beliefs. See, e.g., Carter v. Fleming, 879 F.3d 132, 140 (4th Cir. 2018); Coleman v.

        Jones, No. 20-7382, 2022 WL 2188402, at *3 (4th Cir. June 17, 2022). That makes

        sense: Few things could put more “pressure on an adherent to modify his behavior
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        and to violate his beliefs” than the prospect of being deprived of adequate nutrition.

        Lovelace, 472 F.3d at 187 (quoting Thomas, 450 U.S. at 718). Accordingly, this

        Court, like its sister circuits, has recognized that “a prisoner has a right to a

        nutritionally adequate diet that is consistent with his religious beliefs.” Coleman,

        2022 WL 2188402, at *5 (citing Wall v. Wade, 741 F.3d 492, 498 (4th Cir. 2014),

        and Ross v. Blackledge, 477 F.2d 616, 619 (4th Cir. 1973)). And denial of such a

        diet constitutes a substantial burden on those beliefs.

              Pendleton alleges that Defendants have substantially burdened his religious

        beliefs by forcing him to choose between following his religious beliefs or receiving

        adequate nutrition. According to the complaint, Defendants have offered Pendleton

        just two options: He may participate in the regular diet, which regularly contains

        meat he cannot eat for religious reasons. JA014. Or he may partake in the Religious

        Diet Program, which relies on soy products for protein, which he also cannot eat for

        both medical and religious reasons. JA014; JA067. No substitutions are permitted

        under either option. JA014. As a result, he alleges that he consumes at most 1800

        calories per day—just over half of what the prison provides via the regular diet—

        and cannot eat the primary source of protein served to him. See JA079. Because

        Mr. Pendleton has alleged that he must choose between meeting his basic dietary

        needs and complying with his sincerely held religious beliefs, he has plausibly




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        alleged that the prison’s policy substantially burdens those beliefs. 3 See, e.g.,

        Carter, 879 F.3d at 140 (finding standard prison diet to substantially burden

        plaintiff’s religious practice where plaintiff’s religion prohibits fried foods).

              2. In granting Defendant’s motion to dismiss, the district court committed

        two legal errors. First, the district court reasoned that Pendleton’s religious exercise

        was not “substantially burdened” because has a “choice whether to remain on the

        Religious Special Diet and not eat soy products or he may switch to the regular diet

        and avoid eating the meat or other foods that he claims are forbidden by his religious

        beliefs.” JA098-099. Because, the district court explained, Pendleton was not

        “forced” to eat soy (because he could instead elect to be deprived of adequate

        nutrition or eat other religiously forbidden foods), he was not “‘forced’ to violate his




        3
          To the extent the district court expressed some skepticism that Pendleton’s
        religious objection to eating soy was sincerely held, JA097, it could not, on a motion
        to dismiss, decline to take as true Pendleton’s allegations that he had, for nearly a
        decade, objected to eating soy on religious grounds, see JA040. And, in any event,
        Pendleton alleged that he is allergic to soy and suffers serious gastrointestinal
        distress when he eats it, see, e.g., JA022-034, so a diet centered around soy does not
        provide Pendleton adequate nutrition, even if he were religiously permitted to eat it.
        Courts of appeals have held that plaintiffs’ religious beliefs are substantially
        burdened where they are allergic to or otherwise medically cannot eat the religiously
        compliant food that the prison provides. See Blair v. Raemisch, 804 F. App’x 909,
        918 (10th Cir. 2020) (finding a substantial burden where the religiously-compliant
        vegan food provided by the prison caused “gastrointestinal distress”); cf. Williams
        v. Annucci, 895 F.3d 180, 185 (2d Cir. 2018) (requiring a prison to provide a diet
        that complies with plaintiff’s religious beliefs and avoids foods to which he is
        allergic).
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        religious beliefs” and those beliefs therefore were not substantially burdened.

        JA099.

              The district court’s formulation of the substantial burden test disregards this

        Court’s long-settled precedent. In Ross v. Blackledge, this Court allowed a First

        Amendment complaint from Muslim prisoners to proceed to an evidentiary hearing

        based on allegations that they could not “obtain a balanced diet by eating only non-

        pork items because of the frequency with which pork appears as the only meat on

        the prison menu and because most vegetables are cooked in or seasoned with pork.”

        477 F.2d at 617. In Carter v. Fleming, this Court reaffirmed that holding and held

        that a diet that failed to provide adequate nutrition via non-fried foods substantially

        burdened the religious beliefs of a plaintiff whose religion prohibited fried foods.

        879 F.3d at 140. And, just last year, this Court again reaffirmed in Coleman v. Jones

        that a plaintiff’s religious beliefs were substantially burdened where the vegetarian

        diet provided to accommodate his religious beliefs “left him malnourished,

        unhealthy, and too weak to pray properly.” 2022 WL 2188402, at *1.

              In each of these cases, as here, the plaintiffs, in theory, could have chosen not

        to eat the offending foods—but they alleged that they would not have received

        adequate nutrition had they done so. And, in each of these cases, this Court found

        that coercive choice to substantially burden the plaintiff’s religious beliefs. So too




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        here. Because the district court failed to follow these precedents, it committed legal

        error.

                 Second, the district court’s suggestion that the burden was not substantial

        because the plaintiff could simply “supplement his meals with protein and other

        items from the commissary” is equally wrong. 4 JA099. The fact that a plaintiff can

        pay to reduce effects of the governmental burden on their religious exercise does not

        mean that that religious exercise is not substantially burdened. See Hobby Lobby

        Stores, Inc., 573 U.S. at 722 (rejecting arguments that the plaintiff’s religious

        exercise was not burdened because it could expend additional resources to avoid

        being burdened). Accordingly, courts of appeals have held that the availability of

        religiously compliant food for purchase from the commissary does not alleviate the

        substantial burden imposed by a prison’s refusal to provide nutritionally-adequate,

        religiously-compliant meals. See Jones v. Carter, 915 F.3d 1147, 1150 (7th Cir.

        2019); Moussazadeh v. Texas Dep’t of Criminal Justice, 703 F.3d 781, 793-794 (5th


        4
          The district court also improperly inferred that Pendleton could, in fact, alleviate
        the caloric and protein deficit caused by Defendant’s policies via food purchases
        from the commissary. But the complaint makes no allegation permitting such an
        inference, and instead merely attaches Defendant’s own policy that states recipients
        of the Religious Diet Program are permitted to purchase additional, compliant foods
        from the commissary “if they are readily available.” See JA046-047. The policy
        does not contain any information regarding the nutritional value of that food or
        whether there are protein sources that contain neither meat nor soy—i.e., protein
        sources that Pendleton can eat—available for purchase. The district court therefore
        improperly drew inferences in favor of Defendants in deciding their motion to
        dismiss. See Stevens, 68 F.4th at 930.
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        Cir. 2012); Love v. Reed, 216 F.3d 682, 689 (8th Cir. 2000); see also Beerheide v.

        Suthers, 286 F.3d 1179, 1188 (10th Cir. 2002).

               These decisions recognize that the coercive effect of the government’s refusal

        to accommodate the plaintiff’s religious beliefs does not disappear simply because

        some plaintiffs might be able to throw money at the problem. Even if a plaintiff

        could, in theory, supplement their meals with purchases from the commissary,

        Pendleton must still “choose between following the precepts of [his] religion and

        forfeiting [governmental] benefits” in the form of adequate nutrition provided by the

        prison. Lovelace, 472 F.3d at 187 (citation omitted); see also Carter, 879 F.3d at

        140.   And the coercive effect of that choice is especially unaffected by the

        availability of food for purchase where, as here, the plaintiff is indigent. See Jones,

        915 F.3d at 1150 (collecting cases); see also Dkt. No. 5 (district court order allowing

        Pendleton to proceed in forma pauperis). 5 Thus, the district court applied the

        incorrect legal standard when it relied on the availability of commissary food in

        holding that Pendleton had not adequately alleged a substantial burden on his

        religious exercise.




        5
          The Court may take judicial notice of the district court’s order concerning
        plaintiff’s application to proceed in forma pauperis. See Progressive N. Ins. Co. v.
        Y.E., No. 20-2191, 2022 WL 670871, at *2 n.1 (4th Cir. Mar. 7, 2022) (citing
        Lolavar v. de Santibanes, 430 F.3d 221, 224 & n.2 (4th Cir. 2005)) (taking judicial
        notice of docket sheets and docket entries in related state-court proceedings).
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              B.     Pendleton Has Plausibly Alleged That Defendants’ Conduct Does
                     Not Further A Compelling Governmental Interest by the Least
                     Restrictive Means.

              As discussed above, a plaintiff who has plausibly alleged a substantial burden

        on religious exercise need not allege facts relating to Defendants’ ultimate ability to

        satisfy their burden of demonstrating that the challenged policy is the least restrictive

        means of furthering a compelling government interest. See 42 U.S.C. § 2000cc-

        1(a)(2); id. § 2000cc-2(b); Jehovah, 798 F.3d at 179 (4th Cir. 2015) (“To state a

        RLUIPA claim, [plaintiff] need only plead facts tending to show a substantial burden

        on his exercise of sincerely held religious beliefs.” (citing 42 U.S.C. § 2000cc-2(b)));

        accord. LaVergne v. Stutes, No. 19-30842, 2021 WL 2877789, at *6 (5th Cir. July

        8, 2021). But in all events, Pendleton has plausibly alleged that Defendants’ policy

        is not the least restrictive means of furthering a compelling interest.

              1.     As an initial matter, Defendants did not move to dismiss on the grounds

        that Pendleton should have, but failed to, adequately plead the absence of a

        compelling interest or narrow tailoring. Defendants therefore may not now argue

        for affirmance on that ground. See In re Under Seal, 749 F.3d 276, 285 (4th Cir.

        2014) (“[A]bsent exceptional circumstances, . . . we do not consider issues raised for

        the first time on appeal.” (citation omitted)).

              2.     In any event, Pendleton has plausibly alleged that forcing him to choose

        between meals based on soy or meat is not the least restrictive means of furthering


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        a compelling interest. Pendleton alleges that Defendants do provide a non-soy

        alternative protein source for the religious Diet Program to prisoners with diet orders

        from the medical unit. See JA031. Pendleton also alleges that at least one other

        prisoner currently receives a soy alternative as the primary protein source as part of

        the religious Diet Program. See JA054. Pendleton alleges that the prison has

        “leftovers all of the time” from the regular meals, so he could at least be served fish

        when fish is served or otherwise supplement or substitute his meals via those

        leftovers in order to receive adequate nutrition. See JA071. Even if Pendleton did

        bear the burden at the pleading stage of plausibly alleging that Defendants’ policies

        and practices are not the least restrictive means of furthering a compelling

        government interest, Pendleton has carried that burden.

              Indeed, Defendants’ own arguments below confirm the point. Defendants

        contended that “[i]f every inmate alleged the same, Defendants could be required to

        customize countless numbers of ‘religious diets’” and “[i]t would not be feasible for

        Defendants to meet such demands when considering security constraints, cost, and

        the orderly running of all the WVDCR facilities.” Dkt. 16 at 11. But Defendants

        fatally undercut that assertion later in the very same paragraph when they conceded

        that they could and would provide Pendleton “with a soy alternative under the

        Religious Special Diet” if they had “medically determined that [Pendleton] had a




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        soy allergy.” 6 Dkt. 16 at 11. In other words, according to Defendants, it is the

        reason for the accommodation, not its nature, that prevents Defendants from

        granting it to Pendleton.

              In sum, Pendleton alleges—and Defendants concede—that the prison can

        accommodate the kind of meal customization that Pendleton seeks to accommodate

        medical dietary restrictions, but not religious ones. This concededly disparate

        treatment of religious and non-religious bases for dietary substitutions is plainly

        sufficient to clear the plausibility bar. See Yellowbear, 741 F.3d at 60 (Gorsuch, J.).

        (explaining that the fact that “the prison grants secular exceptions more readily than

        religious exemptions . . . raise[s] the inference . . . that its most compelling interest

        may actually be discrimination against, or at least indifference to, the religious

        liberties of incarcerated persons”).

              II.    PLAINTIFF’S COMPLAINT STATES A CLAIM UNDER THE
                     FREE EXERCISE CLAUSE

              Pendleton has adequately pled a free exercise claim for much the same reasons

        that apply to his RLUIPA claim. Courts consider Free Exercise claims under a two-

        part analysis similar to RLUIPA claims. The first stage, at which “the plaintiff must

        show that the prison’s policies imposed a substantial burden on his exercise of

        sincerely held religious beliefs,” “is essentially the same for both claims.” Wright,


        6
         This is an especially curious concession in light of Pendleton’s long-documented
        gastrointestinal distress when consuming soy products. See JA022-034.
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        921 F.3d at 418; see also Greenhill v. Clarke, 944 F.3d 243, 250 (4th Cir. 2019)

        (“While RLUIPA does not define ‘substantial burden,’ we have held that the term

        has the same meaning as it does in the First Amendment context.”). Thus, for the

        same reasons the court erred in holding that Pendleton had not adequately alleged

        that Defendants had substantially burdened his religious exercise under RLUIPA,

        see supra p. 24-26, the court erred in reaching that conclusion under the First

        Amendment.

              The second stage of the inquiry differs from RLUIPA: “Under the First

        Amendment, the plaintiff has the burden to show that the policies at issue are not

        ‘reasonably related to legitimate penological interests.’” Wright, 921 F.3d at 418

        (quoting Jehovah, 798 F.3d at 176). Thus, at the pleading stage, Pendleton must

        “include sufficient facts to indicate the plausibility that the actions of which he

        complains were not reasonably related to legitimate penological interests.” Gee v.

        Pacheco, 627 F.3d 1178, 1188 (10th Cir. 2010). This Court has characterized this

        requirement as a “low bar.” Jehovah, 798 F.3d at 180.

              Pendleton has plausibly alleged that the prison’s refusal to provide him a

        religiously compliant, nutritionally adequate diet is not reasonably related to

        legitimate penological interests. A prison regulation is reasonably related to a

        legitimate penological interest if it satisfies the four factors established in Turner v.

        Safley, 482 U.S. 78 (1987).

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              That test asks: (1) whether there is a “valid, rational connection”
              between the prison regulation or action and the interest asserted by the
              government, or whether this interest is “so remote as to render the
              policy arbitrary or irrational”; (2) whether “alternative means of
              exercising the right ... remain open to prison inmates”; (3) what impact
              the desired accommodation would have on security staff, inmates, and
              the allocation of prison resources; and (4) whether there exist any
              “obvious, easy alternatives” to the challenged regulation or action.

        Wall, 741 F.3d at 499 (quoting Lovelace, 472 F.3d at 200). In the context of religious

        dietary restrictions, this Court has held that prisoners “are entitled to religious dietary

        accommodations absent a legitimate reason to the contrary,” and prison officials

        must “act reasonably in administering that right.” Id. at 502-03.

              Again, Defendants did not move to dismiss on these grounds, instead focusing

        on the substantiality of the burden. They have therefore waived any argument that

        Pendleton has not adequately alleged the absence of a reasonable relation to a

        legitimate penological objective. See In re Under Seal, 749 F.3d at 285. And, again,

        given Defendants’ admission that they would accommodate a prisoner’s need for a

        non-soy alternative protein source in the Religious Diet Program for medical, but

        not religious reasons, and that Pendleton has alleged that there are leftovers at each

        meal that he could use to supplement his diet, see supra p. 24-26, it is at least

        plausible that Defendants’ refusal to provide that accommodation to Pendleton was

        “not reasonably related to legitimate penological interests.” See Yellowbear, 741

        F.3d at 60.



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               III.   THE COURT SHOULD VACATE AND REMAND THE
                      DISTRICT COURT’S DECISION ON THE MOTION TO SEVER

               In denying Pendleton’s Motion to Sever, the district court construed the

        motion as one for both preliminary and permanent injunctive relief and held that, for

        the same reasons Pendleton had not stated a claim, he was unlikely to prevail on the

        merits. See JA108. Although Pendleton’s motion is admittedly ambiguous in

        whether it seeks additional relief at all and, if so, whether the relief sought is a

        preliminary or permanent injunction, see Dkt. 23, this Court should vacate the

        district court’s denial of the motion because that ruling rests on the same legal errors

        as its dismissal of the complaint. See supra. And, because the district court therefore

        never made any findings as to the other preliminary injunction factors, including

        irreparable harm, the balance of the equities, or the public interest, this Court should

        vacate the denial of the motion and remand so that the district court may do so in the

        first instance.

                                           CONCLUSION

               Pendleton respectfully requests that this Court reverse the district court’s

        dismissal of his complaint, vacate the district court’s denial of Pendleton’s motion

        to sever, and remand to the district court for further proceedings.




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        DATED: July 7, 2023

                                          By: /s/ Helen E. White
                                          Helen E. White
                                          Ginger D. Anders
                                          MUNGER, TOLLES & OLSON LLP
                                          601 Massachusetts Avenue NW
                                           Suite 500 E
                                          Washington, DC 20001
                                          (202) 220-1100
                                          Helen.White@mto.com


                                          Samuel David Kinder Weiss
                                          RIGHTS BEHIND BARS
                                          416 Florida Ave NW
                                           Suite 26152
                                          Washington, DC 20001
                                          (202) 455-4399
                                          sam@rightsbehindbars.org

                              Counsel for Ricky Vincent Pendleton




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                              CERTIFICATE OF COMPLIANCE

              Pursuant to Fed. R. App. P. 32 (a)(7)(C) and Circuit Rule 32-1, I certify that

        the attached motion is proportionally spaced, has a typeface of 14 points and contains

        6,966 words.


        DATED: July 7, 2023                  MUNGER, TOLLES & OLSON LLP

                                             By: /s/ Helen E. White
                                                 Helen E. White
                                                 Counsel for Ricky Vincent Pendleton




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                                      CERTIFICATE OF SERVICE

                 I hereby certify that on July 7, 2023, I electronically filed the foregoing with

        the Clerk of the United States Court of Appeals for the Fourth Circuit using the

        CM/ECF system, which sent notification of such filing to all registered CM/ECF

        users.


        DATED: July 7, 2023                     MUNGER, TOLLES & OLSON LLP

                                                By: /s/ Helen E. White
                                                    Helen E. White
                                                    Counsel for Ricky Vincent Pendleton




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